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16

17                            UNITED STATES BANKRUPTCY COURT
18                CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
19 In re                                               Case No. 8:23-bk-10571-SC
20 THE LITIGATION PRACTICE GROUP P.C.,                 Chapter 11
21                Debtor.                              CHAPTER 11 TRUSTEE’S STATUS
                                                       REPORT
22
                                                       Date:     August 10, 2023
23                                                     Time:     10:00 a.m.
                                                       Ctrm:     Courtroom 5C – Virtual1
24                                                               411 West Fourth Street
                                                                 Santa Ana, CA 92701
25

26
     1
27   This hearing date is designated Zoom Only, pursuant to Judge Clarkson’s self-calendaring
   procedures. Video and audio connection information for each hearing will be provided on Judge
28 Clarkson's publicly posted hearing calendar, which may be viewed online at: http://ecf-
   ciao.cacb.uscourts.gov/CiaoPosted/?jid=SC.
                                                   1
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 1 TO THE HONORABLE JUDGE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY

 2 COURT JUDGE AND ALL INTERESTED PARTIES:

 3         Richard A. Marshack, in his capacity as the Chapter 11 Trustee (“Trustee”) of the bankruptcy
 4 estate (“Estate”) of The Litigation Practice Group P.C. (“Debtor”), submits this status report (“Status

 5 Report”). The information provided in this Status Report supplements and updates the information

 6 set forth in Trustee’s previous Status Report filed on July 5, 2023, as Dk. No. 172:

 7 1.      Trustee’s Sale has Closed
 8         On July 7, 2023, as Dk. No. 191, Trustee filed Motion for Entry of an Order (A) Approving
 9 Sale, Subject to Overbid, of Assets Free and Clear of All Liens, Claims, Encumbrances and Interests

10 Pursuant To 11 U.S.C. § 363(b) and (B) Approving Assumption and Assignment of Certain

11 Executory Contracts and Unexpired Leases and Other Agreements (“Sale Motion”). On July 21,

12 2023, the Court conducted an all-day hearing. At the conclusion of the hearing, the Court announced

13 its decision to grant the Sale Motion and stated substantial findings and conclusions on the record.

14 On July 22, 2023, as Dk. No. 320, the Court entered its order approving the Sale Motion, finding the

15 Trustee could properly sell the assets identified in the Sale Motion. On August 3, 2023, as Dk. No.

16 352, the Court entered a further order granting the Sale Motion and approving the asset purchase

17 agreement with the successful overbidder. On August 4, 2023, the sale funded and closed.

18 2.      The Post-Sale Monitor has been Appointed
19         On August 7, 2023, as Dk. No. 363, the Court entered its order appointing Nancy Rapoport
20 as the post-sale monitor (“Monitor Order”). Unless otherwise ordered, the Monitor will serve for a

21 period of one year after her appointment. As set forth in the Monitor Order, the fees and expenses of

22 the Monitor shall be paid by the Estate, up to the first $100,000.00, upon proper application to the

23 Bankruptcy Court, and additional fees and expenses of the Monitor shall be paid by Buyer, up to

24 $100,000.00. Any amounts in excess of $200,000.00 will be the responsibility of the Seller's Estate.

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 1 3.      Motion to Convert filed by the Office of the United States Trustee
 2         A.      On July 13, 2023, as Dk. No. 232,2 the Office of the United States Trustee filed a
 3 Motion to Convert Case to Chapter 7 Pursuant to 11 U.S.C. § 1112(b) (“Motion to Convert”). On

 4 July 19, 2023, as Dk. No. 286, Trustee filed his Preliminary Opposition to Motion by Office of the

 5 United States Trustee to Convert Case to Chapter 7 Pursuant to 11 U.S.C. § 1112(b). On July 20,

 6 2023, as Dk. No. 306, Creditors Debt Validation Fund II, LLC, MC DVI Fund 1, LLC, MC DVI

 7 Fund 2, LLC filed a Preliminary Opposition to the Motion and a Joinder to the Trustee’s Preliminary

 8 Opposition. On July 27, 2023, as Dk. No. 340, the Committee of Unsecured Creditors

 9 (“Committee”) filed its Joinder to the Trustee’s Opposition. On August 3, 2023, as Dk. No. 358, the

10 UST filed a Reply brief to the oppositions to its Motion.

11         In its Reply, the UST indicated that it sought to dismiss certain claims as grounds for
12 conversion:

13         a.      “The U.S. Trustee will not reargue the illegality of LPG’s business and the consumer
14                 contracts. These issues were considered by the Court in connection with the Sale.”
15                 3:18-20;
16         b.      “[A] bond has been obtained by the Trustee and thus, this issue has been cured.”
17                 3:26-27; and
18         c.      Adequate proof of insurance has been provided and this issue has been cured. 4:18-
19                 22.
20         Additionally, the UST Reply noted that “[t]o date, the Trustee has not filed Form 11-MOR
21 for April, May, and June 2023. The Trustee asserts he is unable to complete the required UST Form

22 11-MOR because he is unable to answer various questions…However, the Trustee could attach a

23 supplement to the filed UST Form 11-MOR explaining or clarifying his answer and explaining what

24 the Trustee was doing to get the answer.” Because the UST has requested that the Trustee elaborate

25 on answers in UST Form 11-MOR in an addendum to the MOR, Trustee will do and file the MORs

26 with addendums.

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28 2 Originally filed on July 12, 2023, at Dk. No. 218 but refiled pursuant to Court instructions.

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 1         Lastly, the Reply included a new claim for conversion that “assuming the Sale closes, the
 2 estate’s assets will have been sold. LPG has no business to reorganize. There is nothing else for the

 3 Trustee to do in chapter 11 that cannot be done in chapter 7…” 2:15-3:8. As set forth in LBR 9013-

 4 1(g)(4), however, “[n]ew arguments or matters raised for the first time in reply documents will not

 5 be considered.” The UST acknowledges that the claim that the sale constitutes grounds for

 6 conversion is a new claim and may not be properly considered at the currently scheduled hearing on

 7 August 10, 2023. As such, it has requested that the Parties stipulate to continue the hearing to

 8 provide time for the Parties to file responses to this new claim. The Parties were documenting a

 9 stipulation to continue the hearing when the Court entered its Order continuing the hearing to

10 September 14, 2023, as Dk. No. 366.

11         All parties that opposed the Motion to Convert are intending to file supplemental oppositions
12 to conversion on this new claim that the closing of the sale provides cause for conversion. Trustee

13 contends that remaining in Chapter 11 provides the maximum flexibility to redress the claims filed

14 by Debtor’s former clients whose contracts were sold. For example, a separate class can be formed

15 to repay consumers who may have been double-charged a higher distribution percentage than other

16 unsecured creditors based on their differing rights and claims. Pursuant to 11 U.S.C. 1106(a)(5),

17 Trustee currently believes that he can file a plan as soon as practicable and believes that this can be

18 done within the next 60 days.

19 4.      Motion to Approve Management Agreement with Resolution Processing
20         On July 7, 2023, as Dk. No. 188, Trustee filed a Motion to Approve Management Agreement
21 with Resolution Processing. On July 10, 2023, as Dk. No. 204, Trustee filed an Amended Motion to

22 Approve Management Agreement with Resolution Processing, hearing is scheduled for August 10,

23 2023. At this time, Trustee requests approval of the Motion with any payment to be made pursuant

24 to a future noticed motion and court order.3

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28 3 As a note, former management member Russ Squires withdrew from the management team on July
   21, 2023, as part of the bid of Morning Law Group.
                                                     4
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 1 5.      Final Hearing on Motion to Borrow from Liberty Acquisitions Group, Inc.
 2         On June 29, 2023, as Dk. No. 156, Trustee filed an Ex Parte Notice proposing to use a
 3 separate lender, Liberty Acquisitions Group, Inc., to provide the balance of the original court-

 4 approved loan borrowed from Resolution Ventures. On July 3, 2023, as Dk. No. 168, the Court

 5 entered its order granting the ex parte. A final hearing was set for August 10, 2023. Trustee requests

 6 that the Court enter a final order approving this loan.

 7 6.      Final Hearing on Motion to Borrow from Liberty Acquisitions Group, Inc. and Resolution
 8         Ventures
 9         On July 16, 2023, as Dk. No. 249, Trustee filed an Emergency Motion (I) for Entry of a
10 Second Interim Order: (A) Authorizing the Trustee to Obtain Additional Post-Petition Financing and

11 Superpriority Administrative Expense Claim Pursuant to 11 U.S.C. § 364; and (B) Setting Final

12 Hearing; and Pursuant to Final Hearing, (II) for Entry of Final Order Approving Post-Petition

13 Financing on a Final Basis. On July 18, 2023, the Committee filed its opposition to the motion. On

14 July 19, 2023, the Court conducted a hearing and approved the financing on an interim basis with the

15 hearing continued to August 10, 2023, for final approval. On July 20, 2023, the Court entered its

16 order granting the financing on an interim basis. Trustee requests entry of an order granting final

17 approval.

18 7.      Consumer Law Group (“CLG”) Settlement Motion
19         On July 6, 2023, as Dk. No. 178, Trustee filed a Motion to Approve Compromise Under Rule
20 9019 re Stipulation with Consumer Legal Group, PC, LGS Holdco, LLC, and Set Forth, Inc.

21 f/k/a DebtPayPro; Declaration of Richard A. Marshack. On July 19, 2023, as Dk. No. 291, the

22 Committee filed opposition to the motion. On July 20, 2023, as Dk. No. 307, CLG filed a reply. The

23 hearing was continued to August 10, 2023. The Committee has requested further information and

24 documents to support the Stipulation and CLG has requested global settlement talks, which the

25 Committee has indicated it is willing to entertain. Given these developments, Trustee expects a

26 stipulation to withdraw the Motion will be forthcoming.

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 1 8.      Compromise with Phoenix Law Approved
 2         On July 6, 2023, as Dk. No. 176, Trustee filed a motion seeking to approve a compromise
 3 with Phoenix Law. The proposed settlement involved Phoenix stipulating to avoidance, recovery,

 4 and preservation of the transfers of property it received from Debtor including the contracts to be

 5 sold to Morning Law pursuant to the Court’s approved sale. On August 7, 2023, as Dk. No. 365, the

 6 Court entered its order granting the motion.

 7 9.      Administrative Claims Bar Date
 8         Trustee believes that case administration will benefit from the setting of a deadline to file
 9 administrative claims that arose or accrued on or before the August 4, 2023, date that the sale closed.

10 Trustee is in the process of drafting such a motion and expects it to be filed shortly.

11 10.     Other Litigation Claims and Potential Compromises
12         Trustee is actively negotiating settlements of various claims with several different parties.
13 Trustee is soliciting input from the Committee to determine if its approval can be secured prior to

14 filing such motions.

15 11.     Conclusion
16         Trustee requests that the Court continue the Status Conference for a period of approximately
17 60 days to early October 2023.

18

19 DATED: August 8, 2023                          DINSMORE & SHOHL LLP
                                                  Special Counsel for Chapter 11 Trustee
20                                                RICHARD A. MARSHACK
21
                                                  AND
22
                                                  MARSHACK HAYS LLP
23
                                                  By: /s/ D. Edward Hays
24                                                    D. EDWARD HAYS
25                                                    LAILA MASUD
                                                      General Counsel for Chapter 11 Trustee
26                                                    RICHARD A. MARSHACK

27

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                                                     6
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620.

A true and correct copy of the foregoing document entitled: CHAPTER 11 TRUSTEE’S STATUS REPORT will be served
or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On August
8, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On August 8, 2023, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

 DEBTOR – MAIL REDIRECTED TO TRUSTEE
 THE LITIGATION PRACTICE GROUP P.C.
 17542 17TH ST, SUITE 100
 TUSTIN, CA 92780-1981

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL: Pursuant to
F.R.Civ.P. 5 and/or controlling LBR, on August 8, 2023, I served the following persons and/or entities by personal
delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
judge will be completed no later than 24 hours after the document is filed.

VIA PERSONAL DELIVERY:
PRESIDING JUDGE’S COPY
HONORABLE SCOTT C. CLARKSON
UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA
RONALD REAGAN FEDERAL BUILDING AND COURTHOUSE
411 WEST FOURTH STREET, SUITE 5130 / COURTROOM 5C
SANTA ANA, CA 92701-4593

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 August 8, 2023                                     Layla Buchanan                               /s/ Layla Buchanan
 Date                                     Printed Name                                           Signature




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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): CONTINUED:
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        eweiman@wrslawyers.com

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 ANTHEM BLUE CROSS             AZEVEDO SOLUTIONS GROUPS, INC                                                BUSINESS CENTERS OF AMERICA
 ATTN: OFFICER, A MANAGING OR ATTN: OFFICER, A MANAGING OR                                                  ATTN: OFFICER, A MANAGING OR
 GENERAL AGENT, OR TO ANY      GENERAL AGENT, OR TO ANY OTHER                                               GENERAL AGENT, OR TO ANY
 OTHER AGENT AUTHORIZED BY     AGENT AUTHORIZED BY                                                          OTHER AGENT AUTHORIZED BY
 APPOINTMENT OR LAW TO         APPOINTMENT OR LAW TO RECEIVE                                                APPOINTMENT OR LAW TO
 RECEIVE SERVICE OF PROCESS    SERVICE OF PROCESS                                                           RECEIVE SERVICE OF PROCESS
 PO BOX 511300                 420 ADOBE CANYON RD                                                          1100 SIR FRANCIS DRAKE BLVD,
 LOS ANGELES, CA 90051-7855    KENWOOD, CA 95452-9048                                                       SUITE 1
                                                                                                            KENTFIELD, CA 94904-1476

 20 LARGEST CREDITOR                               RTD 05/30/23 UTF                                         20 LARGEST CREDITOR
 CALIFORNIA FRANCHISE TAX                          20 LARGEST CREDITOR                                      CREDIT REPORTING SERVICE INC
 BOARD                                             COLLABORATION ADVISORS                                   ATTN: OFFICER, A MANAGING OR
 PO BOX 942857                                     ATTN: OFFICER, A MANAGING OR                             GENERAL AGENT, OR TO ANY
 SACRAMENTO, CA 94257-0001                         GENERAL AGENT, OR TO ANY OTHER                           OTHER AGENT AUTHORIZED BY
                                                   AGENT AUTHORIZED BY                                      APPOINTMENT OR LAW TO
                                                   APPOINTMENT OR LAW TO RECEIVE                            RECEIVE SERVICE OF PROCESS
                                                   SERVICE OF PROCESS                                       548 MARKET ST, SUITE 72907
                                                   400 DORLA COURT                                          SAN FRANCISCO, CA 94104-5401
                                                   ZEPHYR COVE, NV 89448

 20 LARGEST CREDITOR                               20 LARGEST CREDITOR                                      20 LARGEST CREDITOR
 DEBT PAY PRO                                      DEBT VALIDATION FUND II, LLC                             DOCUMENT FULFILLMENT
 ATTN: OFFICER, A MANAGING OR                      ATTN: OFFICER, A MANAGING OR                             SERVICES
 GENERAL AGENT, OR TO ANY                          GENERAL AGENT, OR TO ANY OTHER                           ATTN: OFFICER, A MANAGING OR
 OTHER AGENT AUTHORIZED BY                         AGENT AUTHORIZED BY                                      GENERAL AGENT, OR TO ANY
 APPOINTMENT OR LAW TO                             APPOINTMENT OR LAW TO RECEIVE                            OTHER AGENT AUTHORIZED BY
 RECEIVE SERVICE OF PROCESS                        SERVICE OF PROCESS                                       APPOINTMENT OR LAW TO
 1900 E GOLF ROAD, SUITE 550                       5075 LOWER VALLEY ROAD                                   RECEIVE SERVICE OF PROCESS
 SCHAUMBURG, IL 60173-5870                         ATGLEN, PA 19310-1774                                    2930 RAMONA AVE #100
                                                                                                            SACRAMENTO, CA 95826-3838




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 20 LARGEST CREDITOR                               20 LARGEST CREDITOR / POC                                20 LARGEST CREDITOR / POC
 EXECUTIVE CENTER LLC                              ADDRESS                                                  ADDRESS
 ATTN: OFFICER, A MANAGING OR                      EXELA ENTERPRISE SOLUTIONS                               FIRST LEGAL NETWORK, LLC
 GENERAL AGENT, OR TO ANY                          ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 OTHER AGENT AUTHORIZED BY                         GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 APPOINTMENT OR LAW TO                             AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 RECEIVE SERVICE OF PROCESS                        APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
 5960 SOUTH JONES BLVD                             SERVICE OF PROCESS                                       RECEIVE SERVICE OF PROCESS
 LAS VEGAS, NV 89118-2610                          2701 E. GRAUWYLER ROAD                                   PO BOX 743451
                                                   IRVING, TX 75061-3414                                    LOS ANGELES, CA 90074-3451

 20 LARGEST CREDITOR                               20 LARGEST CREDITOR                                      20 LARGEST CREDITOR
 JP MORGAN CHASE                                   LEXISNEXUS                                               MARICH BEIN LLC
 ATTN: OFFICER, A MANAGING OR                      ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 GENERAL AGENT, OR TO ANY                          GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 OTHER AGENT AUTHORIZED BY                         AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 APPOINTMENT OR LAW TO                             APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
 RECEIVE SERVICE OF PROCESS                        SERVICE OF PROCESS                                       RECEIVE SERVICE OF PROCESS
 3 PARK PLAZA, STE 900                             15500 B ROCKFIELD BLVD                                   99 WALL STREET, STE 2669
 IRVINE, CA 92614-5208                             IRVINE, CA 92618-2722                                    NEW YORK, NY 10005-4301

 20 LARGEST CREDITOR                               20 LARGEST CREDITOR                                      20 LARGEST CREDITOR / POC
 MC DVI FUND 1, LLC; MC DVI                        NETSUITE-ORACLE                                          ADDRESS
 FUND 2, LLC                                       ATTN: OFFICER, A MANAGING OR                             OUTSOURCE ACCELERATOR LTD
 ATTN: OFFICER, A MANAGING OR                      GENERAL AGENT, OR TO ANY OTHER                           C/O PAUL R. SHANKMAN, ESQ
 GENERAL AGENT, OR TO ANY                          AGENT AUTHORIZED BY                                      FORTIS LLP
 OTHER AGENT AUTHORIZED BY                         APPOINTMENT OR LAW TO RECEIVE                            650 TOWN CENTER DRIVE, SUITE
 APPOINTMENT OR LAW TO                             SERVICE OF PROCESS                                       1530
 RECEIVE SERVICE OF PROCESS                        2300 ORACLE WAY                                          COSTA MESA, CA 92626
 1598 COTTONWOOD DR                                AUSTIN, TX 78741-1400
 GLENVIEW, IL 60026-7769

 20 LARGEST CREDITOR                               20 LARGEST CREDITOR                                      20 LARGEST CREDITOR
 SHARP BUSINESS SYSTEMS                            TASKUS HOLDINGS, INC.                                    TUSTIN EXECUTIVE CENTER
 ATTN: OFFICER, A MANAGING OR                      ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 GENERAL AGENT, OR TO ANY                          GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 OTHER AGENT AUTHORIZED BY                         AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 APPOINTMENT OR LAW TO                             APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
 RECEIVE SERVICE OF PROCESS                        SERVICE OF PROCESS                                       RECEIVE SERVICE OF PROCESS
 8670 ARGENT ST                                    1650 INDEPENDENCE DR                                     1630 S SUNKIST STEET, STE A
 SANTEE, CA 92071-4172                             NEW BRAUNFELS, TX 78132-3959                             ANAHEIM, CA 92806-5816

 RTD 06/05/23 UTF                                  CREDITOR / POC ADDRESS                                   RTD 06/14/23 UTF
 20 LARGEST CREDITOR                               JASON PATTERSON STOPNITZKY                               SECURED CREDITOR
 VALIDATION PARTNERS LLC                           C/O LESLIE E. CHAYO, ESQ.                                CITY CAPITAL NY
 ATTN: OFFICER, A MANAGING OR                      9454 WILSHIRE BLVD., PH                                  ATTN: OFFICER, A MANAGING OR
 GENERAL AGENT, OR TO ANY                          BEVERLY HILLS, CA 90212                                  GENERAL AGENT, OR TO ANY
 OTHER AGENT AUTHORIZED BY                                                                                  OTHER AGENT AUTHORIZED BY
 APPOINTMENT OR LAW TO                                                                                      APPOINTMENT OR LAW TO
 RECEIVE SERVICE OF PROCESS                                                                                 RECEIVE SERVICE OF PROCESS
 1300 SAWGRASS PKWY, STE 110                                                                                1135 KANE CONCOURSE
 SUNRISE, FL 33323                                                                                          BAY HARBOUR ISLANDS, FL 33154-
                                                                                                            2025



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 SECURED CREDITOR                                  SECURED CREDITOR                                         SECURED CREDITOR / POC
 DIVERSE CAPITAL LLC                               FUNDURA CAPITAL GROUP                                    ADDRESS
 ATTN: OFFICER, A MANAGING OR                      ATTN: OFFICER, A MANAGING OR                             OHP-CDR, LP
 GENERAL AGENT, OR TO ANY                          GENERAL AGENT, OR TO ANY OTHER                           C/O JEREMY ANDERSEN, RAZMIG
 OTHER AGENT AUTHORIZED BY                         AGENT AUTHORIZED BY                                      IZAKELIAN
 APPOINTMENT OR LAW TO                             APPOINTMENT OR LAW TO RECEIVE                            QUINN EMANUEL URQUHART &
 RECEIVE SERVICE OF PROCESS                        SERVICE OF PROCESS                                       SULLIVAN LLP
 323 SUNNY ISLES BLVD, STE 503                     80 BROAD STREET, STE 3303                                865 S. FIGUEROA STREET, 10TH
 SUNNY ISLES, FL 33160-4675                        NEW YORK, NY 10004-2845                                  FLOOR
                                                                                                            LOS ANGELES, CA 90017

 CREDITOR / POC ADDRESS                            CREDITOR / POC ADDRESS                                   CREDITOR
 AARON DAVIS                                       ACB HOLDINGS, LP                                         AJILON
 P.O. BOX 735                                      C/O OLD HICKORY PARTNERS / DAN                           ATTN: OFFICER, A MANAGING OR
 CUSTER, SD 57730-0735                             YOUNG                                                    GENERAL AGENT, OR TO ANY
                                                   303 COLORADO STREET, SUITE 2550                          OTHER AGENT AUTHORIZED BY
                                                   AUSTIN, TX 78701                                         APPOINTMENT OR LAW TO
                                                                                                            RECEIVE SERVICE OF PROCESS
                                                                                                            LOCKBOX: DEPT CH 14031
                                                                                                            PALATINE, IL 60055-0001

 CREDITOR / POC ADDRESS                            CREDITOR / POC ADDRESS                                   CREDITOR / POC ADDRESS
 ALICE STANTON                                     AMERICAN EXPRESS NATIONAL BANK                           ANGELA DENISE BLAIR
 160 BROOKDALE LN                                  C/O BECKET AND LEE LLP                                   8711 HAYSHED LN, APT 24
 INDIANA, PA 15701                                 PO BOX 3001                                              COLUMBIA, MD 21045-2849
                                                   MALVERN PA 19355-0701

 CREDITOR                                          CREDITOR                                                 CREDITOR / POC ADDRESS
 ANIBAL COLON JR                                   ARIZONA DEPT OF ECONOMIC                                 ARKANSAS DEPARTMENT OF
 C/O ALEXANDER TAYLOR, ESQ.                        SECURITY                                                 FINANCE AND ADMINISTR
 SULAIMAN LAW GROUP LTD                            PO BOX 6028                                              REVENUE LEGAL COUNSEL
 2500 SOUTH HIGHLAND AVE,                          PHOENIX, AZ 85005-6028                                   PO BOX 1272, RM 2380
 SUITE 200                                                                                                  LITTLE ROCK, AR 72203-1272
 LOMBARD, IL 60148-7103

 CREDITOR                                          CREDITOR / POC ADDRESS                                   CREDITOR / POC ADDRESS
 ARKANSAS DEPT OF FINANCE &                        ARVEN ALLEN KNIGHT                                       ASHLEY GLOCKNER
 ADMIN                                             1805 23RD ST, SE APT 252B                                369 W BAY STREET, UNIT D
 PO BOX 9941                                       WASHINGTON, DC 20020                                     COSTA MESA, CA 92627-5748
 LITTLE ROCK, AR 72203-9941

 CREDITOR                                          CREDITOR / POC ADDRESS                                   CREDITOR / POC ADDRESS
 BEVERLY GRAHAM                                    BLANCHE WHEALDON                                         BLUE CROSS OF CALIFORNIA
 C/O BOBBY WALKER, ESQ.                            1317 HARVARD AVENUE                                      DBA ANTHEM BLUE CROSS
 SULAIMAN LAW GROUP                                NATRONA HEIGHTS, PA 15065                                ONE CONSTITUTION PLAZA
 2500 SOUTH HIGHLAND AVE,                                                                                   HARTFORD, CT 06103
 SUITE 200
 LOMBARD, IL 60148-7103

 CREDITOR / POC ADDRESS                            CREDITOR / POC ADDRESS                                   CREDITOR / POC ADDRESS
 BONITA MARIE SCOTT                                BRIANNE PUSZTAI                                          BRITTANY WESTON, ESQ.
 2132 OHIO AVE                                     27784 INVERNESS                                          3070 BRISTOL PIKE, SUITE 1-115
 COLUMBUS, IN 47201                                MISSION VIEJO, CA 92692                                  BENSALEM, PA 19020-5356



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 CREDITOR / POC ADDRESS                            CREDITOR / POC ADDRESS                                   CREDITOR / POC ADDRESS
 CALIFORNIA DEPARTMENT OF                          CALIFORNIA DEPT. OF TAX AND FEE                          CARL WUESTEHUBE
 TAX AND FEE ADMINISTRATION                        ADMINISTRATION                                           33832 DIANA DRIVE
 PO BOX 942879                                     COLLECTIONS SUPPORT BUREAU,                              DANA POINT, CA 92629
 SACRAMENTO, CA 94279-0055                         MIC: 55
                                                   PO BOX 942879
                                                   SACRAMENTO, CA 94279-0001

 CREDITOR                                          CREDITOR / POC ADDRESS                                   CREDITOR / POC ADDRESS
 CAROLINA TECHNOLOGIES &                           CHRISTINE JOHNSON                                        CINDY NEWMAN
 CONSULTING INVOICE                                7807 171ST PLACE                                         19962 NIPONA CT
 ATTN: OFFICER, A MANAGING OR                      TINLEY PARK, IL 60477-3267                               RIVERSIDE, CA 92508
 GENERAL AGENT, OR TO ANY
 OTHER AGENT AUTHORIZED BY
 APPOINTMENT OR LAW TO
 RECEIVE SERVICE OF PROCESS
 1854 HENDERSONVILLE ROAD,
 SUITE A
 PMB #178
 ASHEVILLE, NC 28803-2495

 CREDITOR / POC ADDRESS                            CREDITOR                                                 CREDITOR
 CORY READE DOWS AND                               CT CORPORATION - INV                                     DARCY WILLIAMSON, TRUSTEE
 SHAFER                                            ATTN: OFFICER, A MANAGING OR                             510 SW 10TH
 ATTN: OFFICER, A MANAGING OR                      GENERAL AGENT, OR TO ANY OTHER                           TOPEKA, KS 66612-1606
 GENERAL AGENT, OR TO ANY                          AGENT AUTHORIZED BY
 OTHER AGENT AUTHORIZED BY                         APPOINTMENT OR LAW TO RECEIVE
 APPOINTMENT OR LAW TO                             SERVICE OF PROCESS
 RECEIVE SERVICE OF PROCESS                        PO BOX 4349
 1333 N BUFFALO DRIVE, SUITE                       CAROL STREAM, IL 60197-4349
 210
 LAS VEGAS, NV 89128-3636

 CREDITOR / POC ADDRESS                            CREDITOR                                                 CREDITOR / POC ADDRESS
 DAVID ORR, ESQ.                                   DAVID ULERY                                              DEBRA M. ARCHAMBAULT
 26053 BALSAWOOD CT                                C/O JOSHUA EGGNATZ, EGGNATZ                              5 CARLANN LANE
 WESLEY CHAPE, FL 33544                            PASCUCCI                                                 VALLEY COTTAGE, NY 1989
                                                   7450 GRIFFIN ROAD, SUITE 230
                                                   DAVIE, FL 33314-4104

 CREDITOR / POC ADDRESS                            CREDITOR                                                 CREDITOR / POC ADDRESS
 DEBRA PRICE                                       DEPT OF LABOR AND INDUSTRIES                             DONALD AND SHARON SEAL
 C/O ROBERT COCCO                                  ATTN: OFFICER, A MANAGING OR                             338 N. ADAMS ST
 1500 WALNUT ST, STE 900                           GENERAL AGENT, OR TO ANY OTHER                           PLENTYWOOD, MT 59254
 PHILADELPHIA, PA 19102-3518                       AGENT AUTHORIZED BY
                                                   APPOINTMENT OR LAW TO RECEIVE
                                                   SERVICE OF PROCESS
                                                   PO BOX 34022
                                                   SEATTLE, WA 98124




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 DOUGLAS F. STIELE                                 EDWIN VALDIVIA FITZ                                      EMPLOYMENT DEVELOPMENT
 6870 FLEMMING CIRCLE                              666 W 18TH ST, APT 9                                     DEPARTMENT
 PRIOR LAKE, MN 55372                              COSTA MESA, CA 92627                                     BANKRUPTCY GROUP MIC 92E
                                                                                                            PO BOX 826880
                                                                                                            SACRAMENTO, CA 95814

 CREDITOR                                          CREDITOR / POC ADDRESS                                   CREDITOR / POC ADDRESS
 ENERGYCARE, LLC                                   FIRAS ABUNADA                                            FORTH TECHNOLOGY, INC.
 ATTN: OFFICER, A MANAGING OR                      ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 GENERAL AGENT, OR TO ANY                          GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 OTHER AGENT AUTHORIZED BY                         AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 APPOINTMENT OR LAW TO                             APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
 RECEIVE SERVICE OF PROCESS                        SERVICE OF PROCESS                                       RECEIVE SERVICE OF PROCESS
 2925 N. GREEN VALLEY                              18927 HICKORY CREEK DRIVE, SUITE                         1900 E GOLF ROAD, SUITE 550
 PARKWAY, SUITE C                                  115                                                      SCHAUMBURG, IL 60173-5870
 HENDERSON, NV 89014-0418                          MOKENA, IL 60448-8660

 CREDITOR / POC ADDRESS                            CREDITOR                                                 CREDITOR
 GABRIEL FERNANDO MONROY                           GENEVE AND MYRANDA SHEFFIELD                             GEORGIA DEPT OF LABOR
 831 W ROMNEYA DRIVE #831                          C/O JEREMIAH HECK, ESQ                                   ATTN: OFFICER, A MANAGING OR
 ANAHEIM, CA 92801                                 LUFTMAN HECK & ASSOC                                     GENERAL AGENT, OR TO ANY
                                                   6253 RIVERSIDE DR, STE 200                               OTHER AGENT AUTHORIZED BY
                                                   DUBLIN, OH 43017-5450                                    APPOINTMENT OR LAW TO
                                                                                                            RECEIVE SERVICE OF PROCESS
                                                                                                            148 ANDREW YOUNG
                                                                                                            INTERNATIONAL BLVD, NE, SUITE
                                                                                                            752
                                                                                                            ATLANTA, GA 30303-1751

 CREDITOR / POC ADDRESS                            CREDITOR                                                 CREDITOR / POC ADDRESS
 GERARDO GUZMAN                                    GHA TECHNOLOGIES INC                                     GHA TECHNOLOGIES INC
 5515 S. EMPORIA                                   ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 WICHITA, KS 67216                                 GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
                                                   AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
                                                   APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
                                                   SERVICE OF PROCESS                                       RECEIVE SERVICE OF PROCESS
                                                   DEPT #2090                                               8998 E RAINTREE DR
                                                   PO BOX 29661                                             SCOTTSDALE, AZ 85260-7024
                                                   PHOENIX, AZ 85038-9661

 CREDITOR                                          CREDITOR / POC ADDRESS                                   CREDITOR
 GLORIA EATON                                      HAN TRINH                                                HARRINGTON ELECTRIC INC
 C/O KRIS SKAAR, ESQ.                              2128 W CHERRY DR                                         ATTN: OFFICER, A MANAGING OR
 133 MIRRAMONT LAKE DR.                            ORANGE, CA 92868                                         GENERAL AGENT, OR TO ANY
 WOODSTOCK, GA 30189-8215                                                                                   OTHER AGENT AUTHORIZED BY
                                                                                                            APPOINTMENT OR LAW TO
                                                                                                            RECEIVE SERVICE OF PROCESS
                                                                                                            PO BOX 886
                                                                                                            SKYLAND, NC 28776-0886




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 CREDITOR / POC ADDRESS                            CREDITOR / POC ADDRESS                                   CREDITOR / POC ADDRESS
 HEBA QANDEEL-KISHTA                               HEIDI HIRSCH                                             HELEN C. BANKS
 7625 BROOKSIDE GLEN DRIVE                         726 N BEACHWOOD DRIVE                                    9338 SOUTH EMERALD AVE
 TINLEY PARK, IL 60487-5197                        BURBANK, CA 91506                                        CHICAGO, IL 60620

 CREDITOR / POC ADDRESS                            CREDITOR                                                 CREDITOR / POC ADDRESS
 HUNTER HASTINGS                                   IMAGINE REPORTING                                        INDIANA DEPARTMENT OF
 26847 ELLIS MILLS RD                              ATTN: OFFICER, A MANAGING OR                             REVENUE
 SEAFORD, DE 19973                                 GENERAL AGENT, OR TO ANY OTHER                           ATTN: BANKRUPTCY
                                                   AGENT AUTHORIZED BY                                      100 N SENATE AVE
                                                   APPOINTMENT OR LAW TO RECEIVE                            INDIANAPOLIS, IN 46204-2253
                                                   SERVICE OF PROCESS
                                                   1350 COLUMBIA STREET, SUITE 703
                                                   SAN DIEGO, CA 92101-3456

 CREDITOR                                          CREDITOR / POC ADDRESS                                   CREDITOR / POC ADDRESS
 INDIANA DEPT OF REVENUE                           INTERNAL REVENUE SERVICE                                 INTERNAL REVENUE SERVICE
 PO BOX 1028                                       CENTRALIZED INVSOLVENCY                                  OGDEN, UT 84201
 INDIANAPOLIS, IN 46206-1028                       OPERATIONS
                                                   PO BOX 7346
                                                   PHILADELPHIA, PA 19101-7346

 CREDITOR / POC ADDRESS                            CREDITOR / POC ADDRESS                                   CREDITOR
 IVY BURDEN-POPE                                   JACLYN GOMEZ                                             JAMES HAMMETT
 291 ALTAMONTE BAY CLUB                            109 TOTTENHAM LANE                                       C/O JENNA DAKRAUB
 CIRCLE, APT 207                                   ELK GROVE VILLAGE, IL 60007-3818                         PRICE LAW GROUP
 ALTAMONTE SPRINGS, FL 32701                                                                                8245 N. 85TH WAY
                                                                                                            SCOTTSDALE, AZ 85258-4349

 CREDITOR / POC ADDRESS                            CREDITOR / POC ADDRESS                                   CREDITOR / POC ADDRESS
 JANE ANN DEARWESTER                               JENNIFER ANN MCLAUGHLIN                                  JESSICA JARBOE
 P.O. BOX 7084                                     2145 COUNTRY KNOLL CT                                    PO BOX 4392
 ASHEVILLE, NC 28802-7084                          ELGIN, IL 60123-2145                                     KINGMAN AZ 86402
                                                                                                            KINGMAN, AZ 86402-4392

 CREDITOR / POC ADDRESS                            CREDITOR / POC ADDRESS                                   CREDITOR / POC ADDRESS
 JOAN P. SCHOTT                                    JOHN CHARLES PORTER                                      JOHN RAY SORIANO
 9303 LANDS POINT                                  308 SOUTH RAMSEY STREET                                  1805 SE LUND AVE #1010
 SAN ANTONIO, TX 78250                             MANCHESTER, TN 37355                                     PORT ORCHARD, WA 98366-5555

 CREDITOR                                          CREDITOR / POC ADDRESS                                   CREDITOR
 JOHNNY RIZO                                       JORDAN MICHAEL KURTH                                     JUIZE, INC
 C/O BOBBY WALKER, ESQ.                            205 WALNUT DRIVE                                         ATTN: OFFICER, A MANAGING OR
 SULAIMAN LAW GROUP                                EIGHTY FOUR, PA 15330-8625                               GENERAL AGENT, OR TO ANY
 2500 SOUTH HIGHLAND AVE,                                                                                   OTHER AGENT AUTHORIZED BY
 SUITE 200                                                                                                  APPOINTMENT OR LAW TO
 LOMBARD, IL 60148-7103                                                                                     RECEIVE SERVICE OF PROCESS
                                                                                                            PO BOX 505
                                                                                                            MURRIETA, CA 92564-0505




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 CREDITOR / POC ADDRESS                            CREDITOR                                                 CREDITOR / POC ADDRESS
 JUSTIN NGUYEN                                     KAREN SUELL                                              KARI B. CONIGLIO, CHAPTER 7
 3164 EAST HAZELWOOD, UNIT A                       C/O NATHAN C. VOLHEIM, ESQ                               TRUSTEE FOR
 ORANGE, CA 92869                                  SULAIMAN LAW GROUP                                       BANKRUPTCY ESTATE OF MARK
                                                   2500 SOUTH HIGHLAND AVE, SUITE                           LYNN KRICK AND KAYLA MARIE
                                                   200                                                      KRICK
                                                   LOMBARD, IL 60148-7103                                   200 PUBLIC SQUARE, SUITE 1400
                                                                                                            CLEVELAND, OH 44114-2327

 CREDITOR / POC ADDRESS                            CREDITOR                                                 CREDITOR / POC ADDRESS
 KATHLEEN LACEY                                    KATHLEEN SCARLETT                                        KELLEY M. STIELE
 C/O DAVID CHAMI, ESQ.                             C/O JEREMIAH HECK, ESQ.                                  6870 FLEMMING CIRCLE
 PRICE LAW GROUP                                   LUFTMAN HECK & ASSOC                                     PRIOR LAKE, MN 55372
 8245 N. 85TH WAY                                  6253 RIVERSIDE DR, STE 200
 SCOTTSDALE, AZ 85258-4349                         DUBLIN, OH 43017-5450

 CREDITOR / POC ADDRESS                            CREDITOR / POC ADDRESS                                   CREDITOR
 KELLY DOOLEY                                      KENNETH HUTCHINS                                         KENNETH TOPP
 12591 BRYANT ST                                   PO BOX 162035                                            C/O NATHAN VOLHEIM, ESQ
 BROOMFIELD, CO 80020                              SACRAMENTO, CA 95816-2035                                SULAIMAN LAW GROUP LTD
                                                                                                            2500 SOUTH HIGHLAND AVE, STE
                                                                                                            200
                                                                                                            LOMBARD, IL 60148-7103

 CREDITOR                                          CREDITOR                                                 RTD 06/14/23 UTF
 KEVIN CARPENTER                                   KIMBERLY BIRDSONG                                        CREDITOR
 C/O ALEXANDER TAYLOR, ESQ,                        C/O ALEXANDER J. TAYLOR, ESQ.                            KRISP TECHNOLOGIES, INC
 SULAIMAN LAW GROUP LTD                            SULAIMANLAW GROUP                                        ATTN: OFFICER, A MANAGING OR
 2500 SOUTH HIGHLAND AVE,                          2500 SOUTH HIGHLAND AVE, SUITE                           GENERAL AGENT, OR TO ANY
 SUITE 200                                         200                                                      OTHER AGENT AUTHORIZED BY
 LOMBARD, IL 60148-7103                            LOMBARD, IL 60148-7103                                   APPOINTMENT OR LAW TO
                                                                                                            RECEIVE SERVICE OF PROCESS
                                                                                                            2150 SHATTUCK AVE
                                                                                                            PENTHOUSE 1300
                                                                                                            BERKELEY, CA 94704-1347

 CREDITOR / POC ADDRESS                            CREDITOR / POC ADDRESS                                   CREDITOR
 LAURA CEVA                                        LHH RS                                                   LIBERTY MUTUAL
 280 BLACK OAK COVE ROAD                           C/O STEVEN REBIDAS                                       ATTN: OFFICER, A MANAGING OR
 CANDLER, NC 28715-8139                            4800 DEERWOOD CAMPUS PARKWAY,                            GENERAL AGENT, OR TO ANY
                                                   BLDG 800                                                 OTHER AGENT AUTHORIZED BY
                                                   JACKSONVILLE FL 32246-8319                               APPOINTMENT OR LAW TO
                                                                                                            RECEIVE SERVICE OF PROCESS
                                                                                                            PO BOX 91013
                                                                                                            CHICAGO, IL 60680-1171

 CREDITOR / POC ADDRESS                            CREDITOR / POC ADDRESS                                   CREDITOR / POC ADDRESS
 LISA GORE                                         LORRAINE DINEEN                                          MARC LEMAUVIEL
 2734 W 18TH AVENUE, APT 1F                        1026 SWINTON AVE                                         326 MACNEIL WAY
 CHICAGO, IL 60608                                 BRONX, NY 10465                                          WEAVERVILLE, NC 28787-6700




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 CREDITOR                                          RTD 05/31/23 UTF                                         CREDITOR / POC ADDRESS
 MARC LEMAUVIEL - ALLEGRA                          CREDITOR                                                 MDL GROUP C/O EXECUTIVE
 326 MACNEIL WAY                                   MARKSYS HOLDINGS, LLC                                    CENTER LLC
 WEAVERVILLE, NC 28787-6700                        ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
                                                   GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
                                                   AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
                                                   APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
                                                   SERVICE OF PROCESS                                       RECEIVE SERVICE OF PROCESS
                                                   3725 CINCINNATI AVE, SUITE 200                           5960 SOUTH JONES BOULEVARD
                                                   ROCKLIN, CA 95765-1220                                   LAS VEGAS, NV 89118-2610

 CREDITOR / POC ADDRESS                            CREDITOR / POC ADDRESS                                   CREDITOR
 MELISSA L. AND SHIVA L.                           MICHAEL AND SARAH PIERCE                                 MICHAEL SCHWARTZ
 SOOKNANAN                                         122 SOUTHSHORE DRIVE                                     3968 LOWRY AVENUE
 1584 APACHE WAY                                   JACKSON, TN 38305                                        CINCINNATI, OH 45229-1310
 CLARKSVILLE, TN 37042-8178

 CREDITOR / POC ADDRESS                            CREDITOR / POC ADDRESS                                   CREDITOR
 MIGUEL A ZUANABAR JR                              MISSISSIPPI DEPARTMENT OF                                MISSISSIPPI DEPT OF REVENUE
 812 SUMNER STREET                                 REVENUE                                                  PO BOX 23075
 ADDISON, IL 60101-1338                            ATTN: BANKRUPTCY SECTION                                 JACKSON, MS 39225-3075
                                                   P. O. BOX 22808
                                                   JACKSON, MS 39225-2808

 CREDITOR / POC ADDRESS                            CREDITOR                                                 CREDITOR
 NATALKA PALMER                                    NATIONWIDE APPEARANCE                                    NEVADA DEPT OF TAXATION
 217 NW RIVERFRONT STREET                          ATTORNEYS                                                1550 COLLEGE PARKWAY, SUITE
 BEND, OR 97703                                    ATTN: OFFICER, A MANAGING OR                             115
                                                   GENERAL AGENT, OR TO ANY OTHER                           CARSON CITY, NV 89706-7939
                                                   AGENT AUTHORIZED BY
                                                   APPOINTMENT OR LAW TO RECEIVE
                                                   SERVICE OF PROCESS
                                                   5737 KANAN RD #628
                                                   AGOURA HILLS, CA 91301-1601

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 OLGA LUCIA ESQUIVEL                               PAOLA GOMEZ                                              PETER SCHNEIDER
 25526 MAIER CIRCLE                                19542 POMPANO LN, #103                                   12115 NE 165TH PL
 MENIFEE, CA 92586                                 HUNTINGTON BEACH, CA 92648-6424                          BOTHELL, WA 98011-1211

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 PHILLIP A. GREENBLATT, PLLC                       PHUONG TRINH                                             PITNEY BOWES
 PO BOX 4270                                       2128 W CHERRY DR                                         ATTN: OFFICER, A MANAGING OR
 SUITE 200                                         ORANGE, CA 92868                                         GENERAL AGENT, OR TO ANY
 SOUTHFIELD, MI 48037                                                                                       OTHER AGENT AUTHORIZED BY
                                                                                                            APPOINTMENT OR LAW TO
                                                                                                            RECEIVE SERVICE OF PROCESS
                                                                                                            PO BOX 981026
                                                                                                            BOSTON, MA 02298-1026




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 R. REED PRUYN                                     RAPID CREDIT INC                                         REBECCA S. COULTER
 3524 WEST OVERLOOK DRIVE                          ATTN: OFFICER, A MANAGING OR                             358 CASS PL
 LAYTON, UT 84041                                  GENERAL AGENT, OR TO ANY OTHER                           CANTON, IL 61520
                                                   AGENT AUTHORIZED BY
                                                   APPOINTMENT OR LAW TO RECEIVE
                                                   SERVICE OF PROCESS
                                                   3558 ROUND BARN BLVD, SUITE 200
                                                   SANTA ROSA, CA 95403-0991

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 RONALD MOORE                                      SABRINA CAZEAU                                           SALVATORE PORCARO
 101 ABERDEEN CHASE DR, APT D                      3623 NW 30TH PLACE, APT 305                              72 DORSET DRIVE
 EASLEY, SC 29640                                  FORT LAUDERDALE, FL 33311                                CLARK, NJ 07066-3010

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 SBS LEASING A PROGRAM OF DE                       SECURITY SOLUTIONS                                       SHERRI CHEN
 LAGE LANDEN                                       ATTN: OFFICER, A MANAGING OR                             3164 EAST HAZELWOOD, UNIT A
 ATTN: OFFICER, A MANAGING OR                      GENERAL AGENT, OR TO ANY OTHER                           ORANGE, CA 92869
 GENERAL AGENT, OR TO ANY                          AGENT AUTHORIZED BY
 OTHER AGENT AUTHORIZED BY                         APPOINTMENT OR LAW TO RECEIVE
 APPOINTMENT OR LAW TO                             SERVICE OF PROCESS
 RECEIVE SERVICE OF PROCESS                        10911 BLOOMFIELD ST
 PO BOX 41602                                      LOS ALAMITOS, CA 90720-2506
 PHILADELPHI, PA 19101-1602

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 STATE OF NEVADA DEPARTMENT                        STEVE MALU                                               STREAMLINE PERFORMANCE INC
 OF TAXATION                                       2582 SE 18TH AVE                                         ATTN: OFFICER, A MANAGING OR
 700 E WARM SPRINGS RD STE                         GAINESVILLE, FL 32641                                    GENERAL AGENT, OR TO ANY
 200                                                                                                        OTHER AGENT AUTHORIZED BY
 LAS VEGAS, NV 89119-4311                                                                                   APPOINTMENT OR LAW TO
                                                                                                            RECEIVE SERVICE OF PROCESS
                                                                                                            1551 N TUSTIN, #555
                                                                                                            SANTA ANA, CA 92705-8634

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 STRIS & MAHER LLP                                 THANHHANG NGUYEN                                         THE BANKRUPTCY ESTATE OF
 777 S FIGUEROA ST, STE 3850                       2128 W CHERRY DR                                         STEPHANIE LYNNE NICCUM
 LOS ANGELES, CA 90017                             ORANGE, CA 92868                                         C/O JACQUELINE SELLS HOMANN,
                                                                                                            CHAPTER 7 TRUSTEE
                                                                                                            1251 NORTH EDDY STREET, SUITE
                                                                                                            203
                                                                                                            SOUTH BEND, IN 46617

 CREDITOR / POC ADDRESS                            CREDITOR / POC ADDRESS                                   CREDITOR
 THE BANKRUPTCY ESTATE OF                          THE PLACIDE GROUP CO                                     THOMSON REUTERS
 STEVEN ROBERT VERZAL                              ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 C/O JACQUELINE SELLS                              GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 HOMANN, CHAPTER 7 TRUSTEE                         AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 1251 NORTH EDDY STREET,                           APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
 SUITE 203                                         SERVICE OF PROCESS                                       RECEIVE SERVICE OF PROCESS
 SOUTH BEND IN 46617-1478                          624 BROOKWOOD LANE                                       610 OPPERMAN DRIVE
                                                   MAITLAND, FL 32751                                       EAGEN, MN 55123-1340


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 TWILIO, INC                                       UNIFIED GLOBAL RESEARCH GROUP                            UTAH STATE TAX COMMISSION
 ATTN: OFFICER, A MANAGING OR                      ATTN: OFFICER, A MANAGING OR                             210 N 1950 W
 GENERAL AGENT, OR TO ANY                          GENERAL AGENT, OR TO ANY OTHER                           SALT LAKE CITY, UT 84134-9000
 OTHER AGENT AUTHORIZED BY                         AGENT AUTHORIZED BY
 APPOINTMENT OR LAW TO                             APPOINTMENT OR LAW TO RECEIVE
 RECEIVE SERVICE OF PROCESS                        SERVICE OF PROCESS
 101 SPEAR STREET, SUITE 500                       1660 HOTEL CIR N, STE S620
 SAN FRANCISCO, CA 94105-1559                      SAN DIEGO, CA 92108-2806

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 WA STATE DEPARTMENT OF                            WISCONSIN DEPT OF REVENUE                                SHARP ELECTRONICS COPR
 LABOR AND INDUSTRIES                              PO BOX 8901                                              C/O DAVID CRAPO, ESQ
 BANKRUPTCY UNIT                                   MADISON, WI 53708-8901                                   ONE GATEWAY CENTER
 PO BOX 44171                                                                                               NEWARK, NJ 07102
 OLYMPIA, WA 98504-4171

4863-9691-2494, v. 1




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